Case 2:O4-cr-20l40-.]PI\/| Document 218 Filed 08/01/05 Page 1 of 2 Page|D 293

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UNITED sTATES DISTRICT coURT
WESTERN DISTRICT oF TENNESSEE 05 AUG -l 1121 lU= 014
Western Division

 
  

 

UNITED sTATEs or AMERICA CLE.H§§\’ j TCOUHI
du U.“‘ li‘=.` v.» :.l.'iPHlS
-vs- Case No. 2:04cr20140-04-Ml

KENNETH KENARD BROWN

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
In accordance With the Bail Refonn Act, 18 U.S.C. § 3142(1`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

KENNETH KENARD BROWN is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal KENNETH KENARD BROWN shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding

Dare.- July 28, 2005 £W/TJM~

s. 'rHoMAs `A'NDERSON
UNITED sTATEs MAGISTRATE JUDGE

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UNITED `sATEs DISTRICT COUR - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 218 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listedl

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

